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                   12   GOOGLE LLC

                   13                               UNITED STATES DISTRICT COURT

                   14                             NORTHERN DISTRICT OF CALIFORNIA

                   15                                       OAKLAND DIVISION

                   16

                   17   In re Google RTB Consumer Privacy              Master File No. 4:21-cv-02155-YGR-VKD
                        Litigation,
                   18                                                  DECLARATION OF WHITTY SOMVICHIAN
                                                                       IN SUPPORT OF GOOGLE’S OPPOSITION TO
                   19                                                  PLAINTIFFS’ MOTION FOR CLASS
                        This Document Relates to: all actions          CERTIFICATION AND APPOINTMENT OF
                   20                                                  CLASS REPRESENTATIVES AND CLASS
                                                                       COUNSEL
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ATTORNEYS AT LAW                                                               DECL. OF W. SOMVICHIAN ISO GOOGLE’S
 SAN FRANCISCO                                                                   OPPOSITION TO MOT FOR CLASS CERT.
                                                                                   CASE NO. 4:21-CV-02155-YGR-VKD
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                    1          I, Whitty Somvichian, declare as follows:

                    2          1.      I am a partner at the law firm of Cooley LLP and counsel of record for Google LLC

                    3   (“Google”) in the matter of In re Google RTB Consumer Privacy Litigation, Case No. 4:21-cv-

                    4   02155. I am licensed to practice law in the state of California and am admitted to practice before

                    5   this Court. I submit this declaration in support of Google’s Opposition (“Opposition”) to Plaintiffs’

                    6   Motion for Class Certification and Appointment of Class Representatives and Class Counsel

                    7   (“Motion”). I have personal knowledge of the facts herein, and I am competent to testify.

                    8                        Plaintiffs’ Characterizations of Discovery Proceedings

                    9          2.       The Declaration of Elizabeth C. Pritzker in Support of Plaintiffs’ Motion for Class

                   10   Certification (ECF No. 546-2, the “Pritzker Declaration”) contains numerous characterizations of

                   11   the discovery to date, which seem designed to preemptively shift blame to Google for any

                   12   deficiencies the Court may find with the evidence Plaintiffs have presented to support their Motion.

                   13   These descriptions are argumentative, incomplete, and at times misleading. Google has diligently

                   14   participated in discovery and has fully complied with its obligations, often in the face of

                   15   disproportionate requests from Plaintiffs, which Judge DeMarchi has characterized as a “kitchen

                   16   sink approach.” ECF No. 482 at 6; June 7, 2022 Hearing Tr. at 17:21-22. As Judge DeMarchi put

                   17   it in addressing complaints similar to those in the Pritzker Declaration: “[T]he Court is not

                   18   sympathetic to plaintiffs’ complaints about delay and prejudice . . . . While Google has objected to

                   19   most of plaintiffs’ document requests and generally resisted discovery, plaintiffs have repeatedly

                   20   undermined their cause by serving and insisting upon overbroad discovery requests and by failing

                   21   to explain how the discovery they seek is relevant to a claim or defense and proportional to the

                   22   needs of the case.” (ECF No. 326 at 4.) Further, the Pritzker Declaration refers to Plaintiffs’ motion

                   23   for sanctions related to Google’s data production, Pritzker Decl. ¶ 7, but does not mention that

                   24   Judge DeMarchi denied that motion and a further motion seeking similar relief. ECF No. 488

                   25   (denying sanctions motion); ECF No. 543 (denying demand for discovery sought in sanctions

                   26   motion). And while the Pritzker Declaration refers to “22 separate entries reflecting discovery

                   27   briefing,” it omits that Judge DeMarchi has overruled the majority of Plaintiffs’ various motions to

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                    1   compel. Pritzker Decl. ¶ 5.1 Some additional responses to specific assertions in the Pritzker

                    2   Declaration are as follows.

                    3           3.      First, the Pritzker Declaration claims that “Google has thus far refused to produce

                    4   classwide data and information in this litigation . . . .” Pritzker Decl. ¶ 6. To the extent Plaintiffs

                    5   are suggesting Google had some obligation to make a “classwide” production of available RTB

                    6   Data2 for all proposed class members, that is false. In fact, Plaintiffs have never requested such

                    7   “classwide data” production and only sought production of data for the named Plaintiffs.

                    8           4.      Second, the Pritzker Declaration claims “Google has refused to produce all relevant

                    9   data pertaining to” the named Plaintiffs. Pritzker Decl. ¶ 7. But Judge DeMarchi rejected Plaintiffs’

                   10   broad demands for all data and generally limited the scope of data productions for the named

                   11   Plaintiffs to data shared with third-party RTB participants. ECF No. 151 at 21 (noting that the Court

                   12   was “not convinced . . . that anything having to do with data privacy -- its collection, its storage, its

                   13   dissemination -- is relevant”; ECF No. 314 at 4 (ordering production of “documents sufficient to

                   14   show, for each named plaintiff, what information specific to that plaintiff was shared with an RTB

                   15   participant and the details of such sharing” and rejecting other aspects of Plaintiffs’ demands).

                   16   Further, Judge DeMarchi authorized Google to limit its production of such data to samples for a

                   17   limited number of weekly time periods. ECF No. 383 at 5.

                   18           5.      Third, the Pritzker Declaration states Google was required to “ensure its time-

                   19   sampled production be ‘representative’ in time and in scope of the data Google regularly maintains

                   20   in its Google RTB logs.” Pritzker Decl. ¶ 8. This statement is incorrect if it is intended to suggest

                   21   that Google was required to ensure that the named Plaintiffs’ data samples are “representative” of

                   22   RTB Data for other individuals or for the proposed class as a whole. Judge DeMarchi only ordered

                   23   Google to produce time-sampled data for the named Plaintiffs that would be representative “for the

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                          See, e.g., ECF No. 125 (overruling Plaintiffs’ objections to ESI protocol); ECF No. 189 (quashing
                   25   multiple damages related RFPs); ECF No. 187 (granting only two of 40 custodians requested by
                        Plaintiffs); ECF Nos. 187, 187-1 (siding with Google on nearly all of more than 30 search terms
                   26   Plaintiffs sought to adopt); June 7, 2022 Tr. at 16:1; 20:17; 32:25-33:3 (characterizing Plaintiffs’
                        30(b)(6) deposition topics as “ridiculously overbroad”); ECF No. 231 (quashing or substantially
                   27   limiting thirteen of fifteen 30(b)(6) deposition topics); ECF No. 576 (holding that Plaintiffs failed
                        to show “particularized need” to conduct five additional fact witness depositions and instead
                   28   directing the parties to negotiate narrow 30(b)(6) topics to address overlapping subject matter).
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                          Capitalized terms not otherwise defined herein have the meanings defined in Google’s Opposition.
ATTORNEYS AT LAW                                                                         DECL. OF W. SOMVICHIAN ISO GOOGLE’S
 SAN FRANCISCO                                                             3               OPPOSITION TO MOT FOR CLASS CERT.
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                    1   class period” as to the named Plaintiffs. ECF No. 484 at 2; ECF No. 382 at 5-6.

                    2          6.      Fourth, the Pritzker Declaration refers to “(i) the lack of named plaintiff data for

                    3   earlier in the class period, (ii) potential spoliation of relevant evidence pertaining to plaintiffs and

                    4   the class, and (iii) Google’s document retention efforts relating to this action,” but there no longer

                    5   remains any dispute on these issues. Pritzker Decl. ¶ 8. Plaintiffs sought to depose a Rule 30(b)(6)

                    6   witness on each of these topics and the Parties’ dispute was presented to Judge DeMarchi, who

                    7   largely sustained Google’s objections to the latter two topics, while permitting examination on the

                    8   first topic. The Court specifically endorsed Google’s proposed compromise of providing a verified

                    9   interrogatory response describing its document retention efforts: “Plaintiffs overreach, particularly

                   10   where, as here, Google states that it is prepared to provide verified written responses to questions

                   11   regarding its preservation of data.” ECF No. 576 at 10. “The Court suggest[ed] plaintiffs take

                   12   Google up on its offer,” id., but as of this filing, they have not done so.

                   13          7.      Fifth, Google has now produced to Plaintiffs additional information regarding

                   14   various other topics noted in the Pritzker Declaration. Google served a supplemental interrogatory

                   15   response reflecting “the average daily number of bid requests and bid queries transmitted in the

                   16   U.S. through Google RTB” after Plaintiffs clarified the information they sought in this request.

                   17   Google likewise served a supplemental response reflecting “information about Google account

                   18   maintenance . . . .” See Pritzker Decl. ¶ 6. And Google has already produced a spreadsheet reflecting

                   19   the number of active Google accounts in the U.S. during the Class Period and will be producing a

                   20   witness to explain that data.

                   21          8.      While the Pritzker Declaration asserts that Google’s “[d]amages discovery has been

                   22   similarly limited,” Pritzker Decl. ¶ 12, Google has produced documents responsive to Plaintiffs’

                   23   damages-related requests as limited by the Court. See ECF No. 326 (limiting damages-related

                   24   document requests, including by declining to order production of transaction-level revenue that

                   25   cannot be obtained without undue burden); ECF No. 189 at 5 (quashing multiple damages related

                   26   RFPs; explaining that “Plaintiffs may obtain discovery of information that will allow them to

                   27   calculate or estimate the value of account holder information that Google allegedly shared with

                   28   third parties without permission via the RTB process. However, [Plaintiffs’ requests] are not limited
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 SAN FRANCISCO                                                             4               OPPOSITION TO MOT FOR CLASS CERT.
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                    1   to that objective, and plaintiffs provide an insufficient justification for the scope of these

                    2   requests.”).

                    3          9.        Sixth, the Pritzker Declaration suggests that the volume of Google’s productions to

                    4   date somehow indicates that those productions are deficient. See Pritzker Decl. ¶¶ 3-4. The statistics

                    5   in the Pritzker Declaration obscure the extent of Google’s data productions, which include over

                    6   four million data entries but are produced as a handful of discrete “documents.”

                    7          10.       Finally, contrary to the assertions in the Pritzker Declaration, Google has provided

                    8   Plaintiffs information about “the location of Google’s activities in connection with plaintiffs’ claim

                    9   under the California Information Privacy Act . . . .” Pritzker Decl. ¶ 13. In response to an

                   10   interrogatory asking Google to “[i]dentify the locations in the United States of all computer servers

                   11   through which Google RTB bid requests are transmitted,” Google responded with information on

                   12   the extent to which RTB bid requests from Google are sent to RTB participants from locations in

                   13   California. Google did not provide this information previously because, prior to their most recent

                   14   set of interrogatories served in June 2023, Plaintiffs had not served discovery requesting this

                   15   information; instead, they had sought the location of “any server receiving, storing or processing

                   16   any data collected from any Plaintiffs’ communications [d]evice (and separately for any Class

                   17   member’s Google account).” Google objected to this latter interrogatory and Plaintiffs never sought

                   18   to compel a response.

                   19                  Expert Reports Supporting Google’s Opposition to Plaintiffs’ Motion

                   20          11.       Attached hereto as Exhibit 1 is a true and correct copy of the expert report of Dr.

                   21   Aaron Striegel (“Striegel Report”). The Striegel Report addresses and rebuts certain opinions in the

                   22   reports of Drs. Zubair Shafiq and Christopher Wilson regarding the information contained in RTB

                   23   Data and potential uses of that information. Among other findings and opinions, Dr. Striegel

                   24   analyzed the data that Drs. Shafiq and Wilson relied on and finds that there is substantial variation

                   25   in the information contained in individual bid requests and that certain key fields Plaintiffs allege

                   26   to be “personal information” are often omitted in RTB Data.

                   27          12.       Attached hereto as Exhibit 2 is a true and correct copy of the expert report of Dr.

                   28   Kostantinos Psounis (the “Psounis Report”). The Psounis Report addresses and rebuts certain
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 SAN FRANCISCO                                                            5              OPPOSITION TO MOT FOR CLASS CERT.
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                    1   opinions in the reports of Drs. Shafiq and Wilson regarding whether it is possible to reliably identify

                    2   individuals in the proposed class using RTB Data. Among other findings and opinions, Dr. Psounis

                    3   concludes that it is not possible to reliably identify devices, much less the users of those devices,

                    4   based on RTB Data and that any ability to use the data for this purpose would depend on

                    5   individualized circumstances. Dr. Psounis also rebuts Dr. Shafiq’s assertions that any data with

                    6   more than a certain number of “entropy bits” is sufficient to identify an individual user.

                    7          13.     Attached hereto as Exhibit 3 is a true and correct copy of the expert report of Dr.

                    8   Dominique Hanssens (the “Hanssens Report”). Dr. Hanssens surveyed Google account holders on

                    9   a number of topics related to information potentially shared in RTB Data, and his Report describes

                   10   the results of these surveys. Among other results, these surveys show that most putative class

                   11   members (1) are aware that Google shares with advertisers certain information that Plaintiffs allege

                   12   to be “personal information,” including cookies and IP addresses, and (2) do not change their

                   13   behavior even when presented with Plaintiffs’ specific allegations in this case; specifically, when

                   14   shown a hypothetical privacy policy that expressly states Google will “sell” and “share” their

                   15   “personal information” for advertising, and defines “personal information” to include categories

                   16   alleged by Plaintiffs, substantial majorities of respondents indicated they would still likely accept

                   17   the privacy policy. These survey findings are relevant to the consent issues raised in Google’s

                   18   opposition.

                   19          14.      Attached hereto as Exhibit 4 is of the expert report of Bruce Deal (“Deal Report”).

                   20   The Deal Report addresses and rebuts certain opinions in the reports of Dr. Robert Zeithammer and

                   21   Greg Regan regarding their classwide methodologies for calculating unjust enrichment and

                   22   compensatory damages. Among other findings and opinions, Mr. Deal analyzes Dr. Zeithammer’s

                   23   finding that over 50% of Google’s RTB revenue is attributable to the alleged sharing of personal

                   24   information in bid requests and determines it is unreliable because it does not account for how

                   25   Google ad auctions actually operate; specifically, Mr. Deal finds that Google could have earned the

                   26   same or even higher revenues even if no alleged personal information were shared with RTB

                   27   participants. Mr. Deal also determines that Mr. Regan’s lost profits calculation is unreliable because

                   28   it includes revenues that are not tied to proposed class members. Finally, Mr. Deal determines that
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 SAN FRANCISCO                                                            6               OPPOSITION TO MOT FOR CLASS CERT.
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                    1   compensatory damages cannot be awarded on a classwide basis, including because the $3.17

                    2   “market price” for the allegedly “personal information” is flawed and unreliable, as it is based on

                    3   sparse research and benchmark programs that involve dissimilar data.

                    4                       Deposition Testimony Supporting Google’s Opposition

                    5          15.     Attached hereto as Exhibit 5 is a true and correct copy of excerpts from the

                    6   deposition transcript of Stanislav Belov, conducted on December 13, 2022.

                    7          16.     Attached hereto as Exhibit 6 is a true and correct copy of excerpts from the

                    8   deposition transcript of Dr. Glenn Berntson, conducted on December 8, 2022.

                    9          17.     Attached hereto as Exhibit 7 is a true and correct copy of excerpts from the

                   10   deposition transcript of Terry Diggs, conducted on April 14, 2023.

                   11          18.     Attached hereto as Exhibit 8 is a true and correct copy of excerpts from the

                   12   deposition transcript of Rethena Green, conducted on April 20, 2023.

                   13          19.     Attached hereto as Exhibit 9 is a true and correct copy of excerpts from the

                   14   deposition transcript of John Kevranian, conducted on December 9, 2022.

                   15          20.     Attached hereto as Exhibit 10 is a true and correct copy of excerpts from the

                   16   deposition transcript of Greg Regan, conducted on September 5, 2023.

                   17          21.     Attached hereto as Exhibit 11 is a true and correct copy of excerpts from the

                   18   deposition transcript of Professor Neil Richards, conducted on August 24, 2023.

                   19          22.     Attached hereto as Exhibit 12 is a true and correct copy of excerpts from the

                   20   deposition transcript of Zubair Shafiq, conducted on August 22, 2023.

                   21          23.     Attached hereto as Exhibit 13 is a true and correct copy of excerpts from the

                   22   deposition transcript of Salvatore Toronto, conducted on March 30, 2023.

                   23          24.     Attached hereto as Exhibit 14 is a true and correct copy of excerpts from the

                   24   deposition transcript of Christopher Valencia, conducted on December 14, 2022.

                   25          25.     Attached hereto as Exhibit 15 is a true and correct copy of excerpts from the

                   26   deposition transcript of Tara Williams, conducted on August 17, 2023.

                   27          26.     Attached hereto as Exhibit 16 is a true and correct copy of excerpts from the

                   28   deposition transcript of Christopher Wilson, Ph.D., conducted on August 31, 2023.
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ATTORNEYS AT LAW                                                                     DECL. OF W. SOMVICHIAN ISO GOOGLE’S
 SAN FRANCISCO                                                          7              OPPOSITION TO MOT FOR CLASS CERT.
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                    1          27.    Attached hereto as Exhibit 17 is a true and correct copy of excerpts from the

                    2   deposition transcript of Kimberley Woodruff, conducted on May 4, 2023.

                    3          28.    Attached hereto as Exhibit 18 is a true and correct copy of excerpts from the

                    4   deposition transcript of Robert Zeithammer, conducted on September 7, 2023.

                    5                                       Discovery Responses

                    6          29.    Attached hereto as Exhibit 19 is a true and correct copy of Google LLC’s

                    7   Supplemental Objections and Response to Plaintiffs’ Third Set of Interrogatories (Nos. 11-12),

                    8   dated August 30, 2023.

                    9          30.     Attached hereto as Exhibit 20 is a true and correct copy of Google LLC’s

                   10   Supplemental Objections and Response to Plaintiffs’ Fourth Set of Interrogatories (Nos. 13-15),

                   11   dated June 8, 2023.

                   12                         Google Documents Supporting Google’s Opposition

                   13          31.    Attached hereto as Exhibit 21 is a true and correct copy of a document Google

                   14   produced in this litigation bearing the Bates numbers GOOGLE-HEWT-00012303 - GOOGLE-

                   15   HEWT-00012414.

                   16          32.    Attached hereto as Exhibit 22 is a true and correct copy of a document Google

                   17   produced in this litigation bearing the Bates numbers GOOGLE-HEWT-00018008 - GOOGLE-

                   18   HEWT-00018102.

                   19          33.    Attached hereto as Exhibit 23 is a true and correct copy of a document Google

                   20   produced in this litigation bearing the Bates numbers GOOGLE-HEWT-00047130 - GOOGLE-

                   21   HEWT-00047152.

                   22          34.    Attached hereto as Exhibit 24 is a true and correct copy of a document Google

                   23   produced in this litigation bearing the Bates numbers GOOGLE-HEWT-00047191 - GOOGLE-

                   24   HEWT-00047225.

                   25          35.    Attached hereto as Exhibit 25 is a true and correct copy of a document Google

                   26   produced in this litigation bearing the Bates numbers GOOGLE-HEWT-00057910 - GOOGLE-

                   27   HEWT-00058041.

                   28          36.    Attached hereto as Exhibit 26 is a true and correct copy of a document Google
COOLEY LLP
ATTORNEYS AT LAW                                                                   DECL. OF W. SOMVICHIAN ISO GOOGLE’S
 SAN FRANCISCO                                                         8             OPPOSITION TO MOT FOR CLASS CERT.
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                    1   produced in this litigation bearing the Bates numbers GOOGLE-HEWT-00098506 - GOOGLE-

                    2   HEWT-00098536.

                    3         37.    Attached hereto as Exhibit 27 is a true and correct copy of a document Google

                    4   produced in this litigation bearing the Bates numbers GOOGLE-HEWT-00259486 - GOOGLE-

                    5   HEWT-00259488.

                    6         38.    Attached hereto as Exhibit 28 is a true and correct copy of a document Google

                    7   produced in this litigation bearing the Bates number GOOGLE-HEWT-00455648.

                    8         39.    Attached hereto as Exhibit 29 is a true and correct copy of a document Google

                    9   produced in this litigation bearing the Bates numbers GOOGLE-HEWT-00455801.

                   10         40.    Attached hereto as Exhibit 30 is a true and correct copy of a document Google

                   11   produced in this litigation bearing the Bates numbers GOOGLE-HEWT-00455856 - GOOGLE-

                   12   HEWT-00455858.

                   13         41.    Attached hereto as Exhibit 31 is a true and correct copy of a document Google

                   14   produced in this litigation bearing the Bates numbers GOOGLE-HEWT-00455861 - GOOGLE-

                   15   HEWT-00455862.

                   16         42.    Attached hereto as Exhibit 32 is a true and correct copy of a document Google

                   17   produced in this litigation bearing the Bates numbers GOOGLE-HEWT-00455879 - GOOGLE-

                   18   HEWT-00455881.

                   19         43.    Attached hereto as Exhibit 33 is a true and correct copy of a document Google

                   20   produced in this litigation bearing the Bates number GOOGLE-HEWT-00456337.

                   21         44.    Attached hereto as Exhibit 34 is a true and correct copy of a document Google

                   22   produced in this litigation bearing the Bates number GOOGLE-HEWT-00456348.

                   23         45.    Attached hereto as Exhibit 35 is a true and correct copy of a document Google

                   24   produced in this litigation bearing the Bates numbers GOOGLE-HEWT-00480493 - GOOGLE-

                   25   HEWT-00480519.

                   26         46.    Attached hereto as Exhibit 36 is a true and correct copy of a document Google

                   27   produced in this litigation bearing the Bates numbers GOOGLE-HEWT-00481219 - GOOGLE-

                   28   HEWT-00481224.
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ATTORNEYS AT LAW                                                                DECL. OF W. SOMVICHIAN ISO GOOGLE’S
 SAN FRANCISCO                                                      9             OPPOSITION TO MOT FOR CLASS CERT.
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                    1           47.       Attached hereto as Exhibit 37 is a true and correct copy of a document Google

                    2    produced in this litigation bearing the Bates number GOOGLE-HEWT-00481705.

                    3           48.       Attached hereto as Exhibit 38 is a true and correct copy of a document Google

                    4    produced in this litigation bearing the Bates number GOOGLE-HEWT-00481706.

                    5           49.       Attached hereto as Exhibit 39 is a true and correct copy of a document Google

                    6    produced in this litigation bearing the Bates number GOOGLE-HEWT-00481707.

                    7           50.       Attached hereto as Exhibit 40 is a true and correct copy of a document Google

                    8    produced in this litigation bearing the Bates number GOOGLE-HEWT-00481708.

                    9           51.       Attached hereto as Exhibit 41 is a true and correct copy of a document Google

                   10    produced in this litigation bearing the Bates number GOOGLE-HEWT-00481709.

                   11           52.       Attached hereto as Exhibit 42 is a true and correct copy of a document Google

                   12    produced in this litigation bearing the Bates number GOOGLE-HEWT-00481710.

                   13                        Third-Party Documents Supporting Google’s Opposition

                   14           53.       To illustrate the diversity of privacy-related disclosures that appear on websites that

                   15    participate in RTB, Cooley LLP engaged TransPerfect Legal Solutions at my direction to

                   16    forensically capture privacy policies, cookie policies, popups and banners relating to these policies,

                   17    and other related pages from 22 popular websites. These materials are attached to the concurrently-

                   18    filed Declaration of Hunter Hanzarik (“Hanzarik Decl.”). Cooley LLP compiled the sample of

                   19    materials from 22 of the most-visited websites in the United States, using a list maintained by the

                   20    digital marketing consulting firm Semrush. (See Hanzarik Decl. Ex. 39.) As the Striegel Report

                   21    notes, Plaintiffs’ expert Dr. Wilson found based on the named Plaintiffs’ data that most of these

                   22    websites show ads through RTB. See Striegel Report at footnote 112.

                   23           54.       Attached hereto as Exhibit 43 is a true and correct excerpted copy of the Form 10-Q

                   24    filed with the U.S. Securities and Exchange Commission by Etsy Inc. for the quarterly period ended

                   25    June 30, 2023.

                   26           55.       Attached hereto as Exhibit 44 is a true and correct excerpted copy of the Form 10-Q

                   27    filed with the U.S. Securities and Exchange Commission by PayPal Holdings, Inc. for the quarterly

                   28    period ended June 30, 2023.
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ATTORNEYS AT LAW                                                                          DECL. OF W. SOMVICHIAN ISO GOOGLE’S
 SAN FRANCISCO                                                              10              OPPOSITION TO MOT FOR CLASS CERT.
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                    1           56.    Attached hereto as Exhibits 45-48 are true and correct copies of publicly available

                    2    articles that each refer to Google’s RTB system and the use of certain information in connection

                    3    with online advertising through RTB:

                    4                  (a)      Exhibit 45: Online article dated March 19, 2020 available at

                    5    https://www.eff.org/deeplinks/2020/03/google-says-it-doesnt-sell-your-data-heres-how-company-

                    6    shares-monetizes-and

                    7                  (b)      Exhibit 46: Online article dated September 2, 2021 available at

                    8    https://themarkup.org/the-breakdown/2021/09/02/what-does-it-actually-mean-when-a-company-

                    9    says-we-do-not-sell-your-data

                   10                  (c)      Exhibit    47:   Online article    dated   May 17,    2022   available    at

                   11    https://9to5mac.com/2022/05/17/your-online-behavior-and-location-shared/

                   12                  (d)      Exhibit 48: Online article dated June 26, 2022 and available at

                   13    https://www.iol.co.za/technology/google-might-not-sell-your-data-but-it-will-broadcast-it-for-

                   14    free-ef551130-9fb6-4fb7-afa6-dfb188ef0583

                   15                                              *     *        *

                   16           57.    An index of the exhibits listed above appears as Appendix A to this Declaration.

                   17

                   18           I declare under penalty of perjury that the foregoing is true and correct. Executed on

                   19    September 29, 2023 in San Francisco, California.

                   20

                   21                                                     /s/ Whitty Somvichian
                                                                          Whitty Somvichian
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ATTORNEYS AT LAW                                                                       DECL. OF W. SOMVICHIAN ISO GOOGLE’S
 SAN FRANCISCO                                                           11              OPPOSITION TO MOT FOR CLASS CERT.
                                                                                           CASE NO. 4:21-CV-02155-YGR-VKD
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                    1        Appendix A: Exhibits to Declaration of Whitty Somvichian in Support of Google’s
                             Opposition to Plaintiffs’ Motion for Class Certification and Appointment of Class
                    2                                Representatives and Class Counsel

                    3
                            Exhibit                                        Description
                    4          1       Expert Report of Dr. Aaron Striegel
                               2       Expert Report of Dr. Konstantinos Psounis
                    5          3       Expert Report of Dr. Dominique Hanssens
                               4       Expert Report of Bruce Deal
                    6          5       Excerpts from the Deposition Transcript of Stanislav Belov
                               6       Excerpts from the Deposition Transcript of Dr. Glenn Berntson
                    7          7       Excerpts from the Deposition Transcript of Terry Diggs
                               8       Excerpts from the Deposition Transcript of Rethena Green
                    8          9       Excerpts from the Deposition Transcript of John Kevranian
                              10       Excerpts from the Deposition Transcript of Greg Regan
                    9
                              11       Excerpts from the Deposition Transcript of Professor Neil Richards
                   10         12       Excerpts from the Deposition Transcript of Zubair Shafiq
                              13       Excerpts from the Deposition Transcript of Salvatore Toronto
                   11         14       Excerpts from the Deposition Transcript of Christopher Valencia
                              15       Excerpts from the Deposition Transcript of Tara Williams
                   12         16       Excerpts from the Deposition Transcript of Christopher Wilson, Ph.D.
                              17       Excerpts from the Deposition Transcript of Kimberley Woodruff
                   13         18       Excerpts from the Deposition Transcript of Robert Zeithammer
                              19       Google LLC’s Supplemental Objections and Response to Plaintiffs’ Third Set of
                   14                  Interrogatories (Nos. 11-12)
                              20       Google LLC’s Supplemental Objections and Response to Plaintiffs’ Fourth Set of
                   15                  Interrogatories (Nos. 13-15)
                              21       GOOGLE-HEWT-00012303 - GOOGLE-HEWT-00012414
                   16         22       GOOGLE-HEWT-00018008 - GOOGLE-HEWT-00018102
                              23       GOOGLE-HEWT-00047130 - GOOGLE-HEWT-00047152
                   17         24       GOOGLE-HEWT-00047191 - GOOGLE-HEWT-00047225
                              25       GOOGLE-HEWT-00057910 - GOOGLE-HEWT-00058041
                   18         26       GOOGLE-HEWT-00098506 - GOOGLE-HEWT-00098536
                              27       GOOGLE-HEWT-00259486 - GOOGLE-HEWT-00259488
                   19         28       GOOGLE-HEWT-00455648
                              29       GOOGLE-HEWT-00455801
                   20         30       GOOGLE-HEWT-00455856 - GOOGLE-HEWT-00455858
                              31       GOOGLE-HEWT-00455861 - GOOGLE-HEWT-00455862
                   21         32       GOOGLE-HEWT-00455879 - GOOGLE-HEWT-00455881
                              33       GOOGLE-HEWT-00456337
                   22         34       GOOGLE-HEWT-00456348
                              35       GOOGLE-HEWT-00480493 - GOOGLE-HEWT-00480519
                   23
                              36       GOOGLE-HEWT-00481219 - GOOGLE-HEWT-00481224
                   24         37       GOOGLE-HEWT-00481705
                              38       GOOGLE-HEWT-00481706
                   25         39       GOOGLE-HEWT-00481707
                              40       GOOGLE-HEWT-00481708
                   26         41       GOOGLE-HEWT-00481709
                              42       GOOGLE-HEWT-00481710
                   27         43       Form 10‑Q filed with the U.S. Securities and Exchange Commission by Etsy Inc.
                                       for the quarterly period ended June 30, 2023.
                   28         44       Form 10‑Q filed with the U.S. Securities and Exchange Commission by PayPal
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                                       Holdings, Inc. for the quarterly period ended June 30, 2023.
ATTORNEYS AT LAW                                                                   DECL. OF W. SOMVICHIAN ISO GOOGLE’S
 SAN FRANCISCO                                                       12              OPPOSITION TO MOT FOR CLASS CERT.
                                                                                       CASE NO. 4:21-CV-02155-YGR-VKD
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                    1        Exhibit                                      Description
                               45      Online article dated March 19, 2020 available at
                    2                  https://www.eff.org/deeplinks/2020/03/google-says-it-doesnt-sell-your-data-
                                       heres-how-company-shares-monetizes-and
                    3            46    Online article dated September 2, 2021 available at https://themarkup.org/the-
                                       breakdown/2021/09/02/what-does-it-actually-mean-when-a-company-says-we-
                    4                  do-not-sell-your-data
                                 47    Online article dated May 17, 2022 available at
                    5                  https://9to5mac.com/2022/05/17/your-online-behavior-and-location-shared/
                                 48    Online article dated June 26, 2022 and available at
                    6                  https://www.iol.co.za/technology/google-might-not-sell-your-data-but-it-will-
                                       broadcast-it-for-free-ef551130-9fb6-4fb7-afa6-dfb188ef0583
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